                     IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION

 In re: SIMPLICITY CATERERS, LLC     )
                                     )                      Case No.: 19-82798-CRJ-11
                                     )
                                     )
       Debtor.                       )                      CHAPTER 11
 ____________________________________)

             INTERIM ORDER APPROVING DEBTOR’S INTERIM USE OF
                  CASH COLLATERAL UNTIL OCTOBER 7, 2019

         This matter came before the Court for hearing upon the Debtor’s Motion for Interim and
 Final Authority to Use Cash Collateral (Doc. 8) (the “Motion”). After proper notice, a hearing
 was held on September 19, 2019 with appearances by Tazewell T. Shepard, IV on behalf of the
 Debtor and Richard M. Blythe on behalf of the Bankruptcy Administrator.

        Upon consideration of the pleadings, and in light of the representations of the parties at
 the hearing, this Court hereby finds as follows:

        A.    Notice and Hearing. Notice of the Motion and this hearing has been served in
 accordance with 11 U.S.C. § 102(1) and Rule 4001(b) of the Federal Rules of Bankruptcy
 Procedure.

         B.      Cash Collateral. As used herein, “Cash Collateral” means cash collateral
 described and defined in 11 U.S.C. § 363(a), which includes all proceeds, products, offspring,
 rents, or profits generated from the Debtor’s accounts receivable, cash, or cash-equivalents (the
 “Cash Collateral”).

        C.       Necessity and Best Interest. The Debtor does not have sufficient unencumbered
 cash or other assets with which to continue to operate its business in this Chapter 11 bankruptcy
 case. The Debtor requires immediate authority to use Cash Collateral to continue its business
 without interruption. The Debtor’s use of Cash Collateral to the extent and on the terms and
 conditions set forth herein is necessary to avoid immediate and irreparable harm to the estate.

        NOW, THEREFORE it is hereby ORDERED, ADJUDGED and DECREED as
 follows:

        1.     The Motion is APPROVED on an interim basis to remain in effect until October
 7, 2019.

         2.      Adequate Protection. Creditors are hereby granted replacement liens in the
 Debtor’s post-petition assets, and proceeds of same, to the same extent, priority and validity as
 their pre-petition liens.




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         3.      Perfection of Replacement Liens; Priority of Liens. The security interests
 granted in this Order are deemed perfected without the necessary filing or execution of
 documents which might otherwise be required under non-bankruptcy law for the perfection of
 said security interests. Such security interest and perfection shall be binding, to the extent that
 the post-petition liens granted herein replace properly perfected pre-petition liens, upon any
 subsequently appointed trustee either in Chapter 11 or any other Chapter of the Title 11 of the
 U.S. Code and upon all creditors of the Debtor who have extended or who may hereafter extend
 credit to the Debtor or the Debtor-in-possession.

        4.      Use of Cash Collateral. The Debtor is hereby authorized to use its Cash
 Collateral through the interim period of October 7, 2019.

        This Motion is set for final approval at a hearing on October 7, 2019 at 2:30 p.m. at the
 Federal Building, Decatur, Alabama 35601.


 Dated this the 20th day of September, 2019.

                                                      /s/ Clifton R. Jessup, Jr.
                                                      Clifton R. Jessup, Jr.
                                                      United States Bankruptcy Judge



 Prepared by:
 Tazewell T. Shepard IV
 Attorney for Debtor




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